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15   Platforms, Inc.
16
                                 UNITED STATES DISTRICT COURT
17
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
18
                                        OAKLAND DIVISION
19
      WHATSAPP LLC, and                 )
20                                      )             Case No. 4:19-cv-07123-PJH
      META PLATFORMS INC.,
                                        )
21                                      )
                      Plaintiffs,       )             PLAINTIFFS’ OPPOSITION AND
22                                      )             STATEMENT IN RESPONSE TO
             v.                         )             DEFENDANTS’ ADMINISTRATIVE
23                                      )             MOTION TO FILE UNDER SEAL
24    NSO GROUP TECHNOLOGIES LIMITED )
      and Q CYBER TECHNOLOGIES LIMITED, )             Ctrm:    3
                                        )             Judge:   Hon. Phyllis J. Hamilton
25                                      )
                      Defendants.       )
26                                                    Action Filed: October 29, 2019
                                        )
                                        )
27                                      )
                                        )
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 1           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2           Pursuant to Civil Local Rules 7-11(b) and 79-5(f)(3), Plaintiffs WhatsApp LLC and Meta

 3   Platforms, Inc., by and through their counsel, respectfully submit this Opposition and Statement in

 4   Response to the Administrative Motion for File Under Seal (the “Administrative Motion”) filed by

 5   Defendants NSO Group Technologies Limited and Q Cyber Technologies Limited (“NSO”). The

 6   Administrative Motion identifies certain documents (the “Sealed Materials”) filed in connection with

 7   NSO’s Opposition to Plaintiffs’ Motion for Partial Summary Judgment (the “Opposition”) as con-

 8   taining information that should be filed under seal. Dkt. No. 419 at 3. 1

 9           Plaintiffs request that the Court keep under seal only certain portions of the Sealed Materials.

10   Specifically, Plaintiffs request that the Court keep only certain portions of Exhibits A, B, and C to

11   the Akrotirianakis Declaration under seal, as indicated in the versions of those exhibits attached as

12   Exhibits 1 through 3 to the Declaration of Craig T. Cagney filed herewith (“Plaintiffs’ Sealed Mate-

13   rials”). Plaintiffs make this request pursuant to Local Civil Rules 79-5(c) and (d). Plaintiffs have no

14   objection to unsealing Exhibits L through O to the Akrotirianakis Declaration, which NSO describes

15   as constituting or discussing information that Plaintiffs have designated as “Highly Confidential –

16   Attorneys’ Eyes Only.” See Dkt. No. 419 at 6. Plaintiffs take no position with respect to the remain-

17   ing Sealed Materials that were not designated as confidential by Plaintiffs, except to oppose NSO’s

18   redactions to the Craig Declaration itself. See Dkt. No. 419-1. As previously stated, see Dkt. No.

19   414, Plaintiffs object to those portions remaining under seal because that information is already in

20   the public domain.

21             I.    Plaintiffs’ Sealed Materials

22           Compelling reasons exist to protect the confidential information and privacy interests of cer-

23   tain of Plaintiffs’ non-testifying individual employees and a non-testifying employee of a

24
     1
       The Sealed Materials include: (1) portions of the Declaration of Aaron Craig in Support of the
25   Administrative Motion (the “Craig Declaration”), Dkt. No. 419-1; (2) portions of the Opposition,
     Dkt. No. 419-2; (3) Exhibits A and B to the Declaration of Terrence McGraw in Support of the
26
     Opposition, Dkt. No. 419-3; (4) portions of the Declaration of Tamir Gazneli in Support of the Op-
27   position; (5) portions of the Declaration of Joseph Akrotirianakis in Support of the Opposition (the
     “Akrotirianakis Declaration”), Dkt. No. 419-5; and (6) Exhibits A through F, H through J, and L
28   through O of the Akrotirianakis Declaration, Dkt. No. 419-5.
                                                       1
     PLS.’ OPP. AND STATEMENT IN RESP. TO DEFS.’ ADMIN. MOT. TO FILE UNDER SEAL
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 1   nonparty. Specifically, Exhibits A, B, and C to the Akrotirianakis Declaration are excerpts from

 2   deposition transcripts of Plaintiffs’ witnesses and contain the names of certain of Plaintiffs’ non-

 3   testifying employees, as well as one employee of a nonparty, whose identities are not pertinent to any

 4   issue, claim, or defense in this Action. See Dkt. No. 419-5, Exs. A–C; Cagney Decl. ¶ 3; id. Exs. 1–

 5   3.

 6            “[R]edaction of [their] identifying information is particularly appropriate here, because the

 7   public’s interest in the name of [an employee] is likely insignificant, as the exact name is irrelevant

 8   to the legal issues in this case.” O’Connor v. Uber Techs., Inc., 2015 WL 355496, at *2 (N.D. Cal.

 9   Jan. 27, 2015); see also Nursing Home Pension Fund v. Oracle Corp., 2007 WL 3232267, at *1

10   (N.D. Cal. Nov. 1, 2007) (“The Ninth Circuit has found that compelling reasons exist to keep personal

11   information confidential to protect an individual’s privacy interest and to prevent exposure to harm

12   or identity theft.” (citing Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1134 (9th Cir.

13   2003))); Ehret v. Uber Techs., Inc., 2015 WL 12977024, at *3 (N.D. Cal. Dec. 2, 2015) (“While the

14   . . . employees are employed by a party in this case and have a lower privacy interest, their specific

15   e-mail addresses are not relevant to the merits of the motion of this case.”). In addition, the public

16   disclosure of Plaintiffs’ employees’ names in connection with litigation has sometimes been followed

17   by harassment, online threats, and/or suspicious phone calls, text-messages or emails, particularly in

18   cases with significant media attention. There is little, if any public interest, in those identities, so the

19   private interests justify sealing. Cagney Decl. ¶ 3.

20            For the foregoing reasons, Plaintiffs request that Plaintiffs’ Sealed Materials remain under

21   seal. This request is narrowly tailored to only sealable material (as submitted concurrently herewith).

22             II.   NSO’s Sealed Materials

23            As NSO acknowledges, the heightened “compelling reasons” standard must be satisfied to

24   support continued sealing. See Dkt. No. 419 at 1–2. Under this Court’s Civil Pretrial Instructions,

25   “[r]equests to seal documents used in conjunction with dispositive motions are rarely granted and

26   then only upon a showing of the most compelling of reasons.” Civil Pretrial Instructions ¶ A.10.

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 1           In addition to seeking to seal various documents, NSO seeks to seal several paragraphs of the

 2   Craig Declaration that describe the Israeli restrictions. See Dkt. No. 419-1 ¶¶ 3–10. As noted in

 3   Plaintiffs’ motion for sanctions, Dkt. No. 405-2 at 3–5, those Israeli restrictions have been described

 4   in multiple public reports and are accordingly matters of public record. 2 No compelling reason can

 5   exist to protect from disclosure information that has already been made public. Kamakana v. City &

 6   Cnty. of Honolulu, 447 F.3d 1172, 1184 (9th Cir. 2006) (no compelling reason to seal documents

 7   where “many names or references for which the United States sought redaction were either already

 8   publicly available or were available in other documents being produced,” including a press re-

 9   lease). As such, NSO has not met its burden to redact these portions of the Craig Declaration.

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       See Harry Davies & Stephanie Kirchgaessner, Israel Tried to Frustrate US Lawsuit Over Pegasus
23   Spyware, Leak Suggests, The Guardian (July 25, 2024, 12:00 PM), https://www.theguard-
     ian.com/news/article/2024/jul/25/israel-tried-to-frustrate-us-lawsuit-over-pegasus-spywareleak-sug-
24   gests; Phineas Rueckert & Karine Pfenniger, Israel Maneuvered to Prevent Disclosure of State Se-
     crets Amid WhatsApp vs NSO, Forbidden Stories (July 25, 2024), https://forbiddenstories.org/actu-
25
     alites_posts/israel-maneuvered-to-prevent-disclosure-of-state-secretsamid-whatsapp-vs-nso-law-
26   suit; Amnesty International, Israel’s Attempt to Sway WhatsApp Case Casts Doubt on Its Ability to
     Deal with NSO Spyware Cases (July 25, 2024), https://www.amnesty.org/en/lat-
27   est/news/2024/07/israels-attempt-to-sway-whatsapp-case-casts-doubt-on-itsability-to-deal-with-
     nso-spyware-cases.
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 1    Dated: October 15, 2024                        Respectfully Submitted,

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19                                                           Meta Platforms, Inc.
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